        Case 1:14-cr-00068-LGS               Document 223        Filed 03/06/15     Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------X

UNITED STATES OF AMERICA                             :            14 Cr. 68 (KBF)

                 - against -                         :            DECLARATION OF
                                                                  JOSHUA L. DRATEL, ESQ.
ROSS ULBRICHT,                                        :           IN SUPPORT OF DEFENDANT
                                                                  ROSS ULBRICHT’S
                                    Defendant.        :           POST-TRIAL MOTIONS
------------------------------------------------------X

        Joshua L. Dratel, Esq., pursuant to 28 U.S.C. §1746, hereby affirms under penalty of

perjury:

        1. I am an attorney, and I represent defendant Ross Ulbricht in the above-captioned case.

I make this Declaration in support of Mr. Ulbricht’s post-trial motions for a new trial, pursuant to

Rule 33, Fed.R.Crim.P., and to renew his motion(s) to suppress the fruits of certain searches and

seizures performed by the government.

        2. The bases for these motions are set forth in detail in the accompanying Memorandum

of Law. Also, it is respectfully requested that the facts set forth within the Memorandum of Law

be incorporated by reference in this Declaration.

        3. Attached as Exhibits to this Declaration, and relevant to Mr. Ulbricht’s motions, are

the following:

                 (a)      a catalogue of exculpatory 3500 material relevant to the motions, attached

                          as Exhibit 1;

                 (b)      a chart of the additions, deletions and modifications of government

                          exhibits, attached as Exhibit 2; and



                                                          1
        Case 1:14-cr-00068-LGS          Document 223        Filed 03/06/15      Page 2 of 2




                  (c)    January 8, 2015, email from AUSA Serrin Turner to Lindsay A. Lewis,

                        attached as Exhibit 3.

        WHEREFORE, it is respectfully requested that the Court grant Mr. Ulbricht’s Motions in

their entirety.

        I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge and belief. 28 U.S.C. §1746. Executed March 6, 2015.

                                                       /S/ Joshua L. Dratel
                                                      JOSHUA L. DRATEL




                                                  2
